    Case 2:15-cr-00154-JCZ-DEK       Document 279        Filed 02/03/16   Page 1 of 4




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                     CRIMINAL ACTION


VERSUS                                                       NO. 15-154


JASMINE PERRY                                                SECTION A(3)
EVANS LEWIS
SOLOMON DOYLE
CURTIS NEVILLE



                                   ORDER AND REASONS

      The following motions are before the Court: Motions to Sever (Rec. Docs. 219,

246, and 251) filed by defendants Evans Lewis, Jasmine Perry, and Curtis Neville;

Motions to Exclude (Rec. Docs. 220, 250, 252, and 254) filed by defendants Evans

Lewis, Jasmine Perry, Terrioues Owney, and Solomon Doyle.

      On June 12, 2015, a grand jury in the Eastern District of Louisiana returned a 45

count indictment (“the Indictment”) against defendants Leroy Price, Ashton Price,

Alonzo Peters, Jasmine Perry, McCoy Walker, Terrioues Owney, Evans Lewis, Curtis

Neville, Rico Jackson, Tyrone Knockum, Solomon Doyle, Washington McCaskill, and

Damian Barnes. Count 1 of the Indictment charges a RICO conspiracy in violation of 18

U.S.C. § 1962(d), which is supported by allegations of 55 “overt acts” by the various

defendants in furtherance of the RICO conspiracy. The other 44 counts charged in the

Indictment pertain to various drug and firearm offenses, and a dozen murders.

      Movants Lewis, Perry, Doyle, and Owney were codefendants in EDLA Case No.

11-107, which centered around a sprawling drug conspiracy. Each defendant entered

into a plea agreement with the Government. The Government has advised Lewis, Perry,


                                           Page 1 of 4
    Case 2:15-cr-00154-JCZ-DEK           Document 279        Filed 02/03/16     Page 2 of 4




Doyle, and Owney that it intends to introduce their factual bases from 11-107 against

them at the forthcoming trial in this Section. The instant motions to exclude and to sever

all relate for the most part to the introduction of these defendants’ prior guilty pleas, and

in particular the introduction of their factual bases. Lewis, Perry, Doyle, Owney, and

Neville all raise concerns that statements in their codefendants’ factual bases will

implicate them in the crimes charged in the Indictment in this case, in violation of United

States v. Bruton, 391 U.S. 123 (1968). Neville was not a codefendant in the 11-107 case

but he is concerned that there will be references to his guilt in the evidence offered

against Lewis, Doyle, and Owney, and in the evidence that they offer in defense of their

own charges.

       The Court DENIES the moving defendants’ motions to sever the charges against

them under Rule 14(a). 1 The Defendants were indicted together and all of the charges

relate to each other and the RICO conspiracy charged in Count I. Although the case is

complex, the Court is persuaded that the jury can be instructed to judge each

defendant’s guilt individually thereby eliminating any problems of unfair prejudice.

       Given that the Government elected to charge the Defendants in a single

indictment and has opposed their request for a severance, if the Government intends to

admit the guilty pleas and factual bases then they must be redacted to ensure that no




       1
           Rule 14(a) provides:

       If the joinder of offenses or defendants in an indictment, an information, or a
       consolidation for trial appears to prejudice a defendant or the government, the
       court may order separate trials of counts, sever the defendants' trials, or provide
       any other relief that justice requires.

Fed. R. Crim. Pro. 14(a).



                                               Page 2 of 4
    Case 2:15-cr-00154-JCZ-DEK         Document 279        Filed 02/03/16   Page 3 of 4




defendant suffers a Bruton problem. The Court agrees with the Government’s

observation that with proper redactions, the number of defendants tends to decrease

the likelihood that the jury will associate redacted material with a specific defendant.

       Aside from the potential Bruton problem, Lewis questions whether the

Government can properly admit his own factual basis against him. Lewis contends that

the factual basis is not an admission by him but rather is a stipulation as to what the

Government could have proved at trial had the matter not been resolved by a guilty

plea. Lewis points out that his factual basis included hearsay statements offered by third

parties that cannot be attributed to him.

       To admit the plea agreement and factual basis, the Government must identify an

applicable exception to the hearsay rule. Federal Rule of Evidence 801(d)(2)(B) pertains

to opposing party statements. That exception to the hearsay rule applies to statements

that the party adopted or believed to be true. Lewis signed his factual basis attesting

that he had read it and approved it. The Court is persuaded that Rule 801(d)(2)(B)

applies to a factual basis accompanying a guilty plea when offered against the

defendant who signed it. But Lewis and the other defendants’ raise a good point

regarding potential hearsay problems with the third-party statements that the

Government included in the plea agreements. Therefore, the Court may require the

Government to redact a defendant’s factual basis beyond what is necessary to cure the

Bruton problem.

       Finally, Doyle argues that his plea agreement in 11-107 precludes the

Government from using his plea agreement and factual basis against him. Doyle’s plea

agreement in 11-107 contained the following statement:




                                             Page 3 of 4
    Case 2:15-cr-00154-JCZ-DEK       Document 279        Filed 02/03/16   Page 4 of 4




      The Government also agrees that any statements or testimony given by the
      defendant pursuant to questions asked by federal agents or prosecutors as
      a result of this agreement will not be used against the defendant except for
      the purpose of impeachment.

Rec. Doc. 198-2, Doyle Plea Agreement at 4).

      As the Government correctly points out in opposition, the plea agreement and

factual basis do not derive from questions asked by federal agents or prosecutors as a

result of the agreement. (Rec. Doc. 262, Opposition at 8).

      In sum, subject to the plea agreements and factual bases being properly

redacted to cure Bruton and hearsay problems, the motions to exclude are DENIED.

      Accordingly, and for the foregoing reasons;

      IT IS ORDERED that the Motions to Sever (Rec. Docs. 219, 246, and 251) filed

by defendants Evans Lewis, Jasmine Perry, and Curtis Neville, and Motions to

Exclude (Rec. Docs. 220, 250, 252, and 254) filed by defendants Evans Lewis,

Jasmine Perry, Terrioues Owney, and Solomon Doyle are DENIED.

      February 2, 2016




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                                                       JUDGE JAY C. ZAINEY
                                                  UNITED STATES DISTRICT JUDGE




                                           Page 4 of 4
